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06                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
07                                      AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )               CASE NO. CR16-247 RSL
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )               ORDER REVOKING RELEASE
11   CHRISTOPHER MICHAEL CHATMAN, )                       18 U.S.C. §§3148(b) and 3143(A)
                                          )
12         Defendant.                     )
     ____________________________________ )
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            The United States moved for revocation of defendant’s release, alleging violation of the
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     conditions of release.   Defendant had been released on an appearance bond pending an
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     evidentiary hearing on allegations of violation of supervised release. The defendant admitted to
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     the violation of the conditions of pre-hearing release at a hearing on September 30, 2020.
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            Based upon all of the evidence presented at the hearings, the Court finds that defendant
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     has violated the conditions of release as follows:
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            1.      Violating the condition requiring he comply with the location monitoring
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                    program by leaving his residence without prior approval at least twice on or
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01                 about September 1, 2020.

02          2.     Deviating from his approved schedule on or about August 30, 2020.

03          3.     Deviating from his approved schedule on or about August 28, 2020.

04          4.     Leaving his residence without prior approval on or about August 25, 2020.

05          5.     Leaving his residence without prior approval on or about September 6, 2020.

06          6.     Leaving his residence without prior approval on or about September 6, 2020.

07          7.     Leaving his residence without prior approval on or about September 7, 2020.

08          The Court finds that there are no conditions or combination of conditions which will

09 assure that defendant will appear and will not pose a danger to other persons, if released again;

10 and further finds that defendant is unlikely to abide by any condition or combination of

11 conditions set by the Court.

12          It is therefore ORDERED, that defendant’s bond is REVOKED, pursuant to 18 U.S.C.

13 §3148(b) and that:

14      1. Defendant shall be detained pending hearing and committed to the custody of the

15          Attorney General for confinement in a correction facility;

16      2. Defendant shall be afforded reasonable opportunity for private consultation with

17          counsel;

18      3. On order of the United States or on request of an attorney for the Government, the person

19          in charge of the corrections facility in which defendant is confined shall deliver the

20          defendant to a United States Marshal for the purpose of an appearance in connection

21          with a court proceeding; and

22      4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel


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01         for the defendant, to the United States Marshal, and to the United State Probation

02         Officer.

03         DATED this 30th day of September, 2020.

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05                                                   A
                                                     Mary Alice Theiler
06                                                   United States Magistrate Judge

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     18 U.S.C. §§3148(b) and 3143(A)
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